Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 1 of 28 PAGEID #: 1




                                                  2:23-mj-188




3/20/2023
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 2 of 28 PAGEID #: 2




                                                           2:23-mj-188


                                                                         Vascura
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 3 of 28 PAGEID #: 3
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 4 of 28 PAGEID #: 4
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 5 of 28 PAGEID #: 5
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 6 of 28 PAGEID #: 6
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 7 of 28 PAGEID #: 7
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 8 of 28 PAGEID #: 8
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 9 of 28 PAGEID #: 9
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 10 of 28 PAGEID #: 10
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 11 of 28 PAGEID #: 11
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 12 of 28 PAGEID #: 12
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 13 of 28 PAGEID #: 13
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 14 of 28 PAGEID #: 14
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 15 of 28 PAGEID #: 15
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 16 of 28 PAGEID #: 16
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 17 of 28 PAGEID #: 17
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 18 of 28 PAGEID #: 18
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 19 of 28 PAGEID #: 19




                             20th
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 20 of 28 PAGEID #: 20
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 21 of 28 PAGEID #: 21
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 22 of 28 PAGEID #: 22
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 23 of 28 PAGEID #: 23
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 24 of 28 PAGEID #: 24




                                                  2:23-mj-188




                                               4/3/2023




                                         any US Magistrate Judge or Clerk's Office




          3/20/2023 2:58pm
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 25 of 28 PAGEID #: 25
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 26 of 28 PAGEID #: 26




                                                              2:23-mj-188
Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 27 of 28 PAGEID #: 27
 Case: 2:23-mj-00188-CMV Doc #: 1 Filed: 03/20/23 Page: 28 of 28 PAGEID #: 28




                                                               2
                                                               :
                                                               2
                                                               3
                                                               -
                                                               m
                                                               j
                                                               -
                                                               1
                                                               8
                                                               8




3/20/2023
